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                        UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 20-22829-MC-LFL


   IN THE MATTER OF
   THE EXTRADITION OF
   CESAR HORACIO DUARTE JAQUEZ
   __________________________________/

                    MEMORANDUM OF EXTRADITION LAW
       AND REQUEST FOR DETENTION PENDING EXTRADITION PROCEEDINGS

          The United States, in executing its treaty responsibilities and acting at the request of the

   Government of the United Mexican States (“Mexico”), urges that the fugitive, Cesar Horacio

   Duarte Jaquez (“Duarte” or “the fugitive”), be held without bond pending the hearing on the

   certification of the extradition pursuant to 18 U.S.C. §§ 3184 et seq.        This memorandum

   summarizes the framework of U.S. extradition law and sets forth the reasons why this Court should

   order Duarte’s detention. In short, Duarte cannot overcome the strong presumption against bail in

   international extradition cases. Specifically, he cannot meet his burden of showing that he poses

   no risk of flight or danger to the community and that special circumstances exist warranting his

   release.

                                          BACKGROUND

          The Government of Mexico seeks Duarte’s extradition to try him on charges of aggravated

   embezzlement, in violation of the first paragraph, section I, and second paragraph of Article 270

   of the Criminal Code for the State of Chihuahua; and aggravated conspiracy, in violation of

   Articles 246 and 248 of the same code. Duarte allegedly committed these offenses within the

   jurisdiction of Mexico. A Constitutional Rights Court Judge for the Judicial District of Morelos,

   in Chihuahua, Chihuahua, Mexico, Maria Alejandra Ramos Duran, issued a warrant for Duarte’s
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   arrest on October 8, 2019. Req. at 115-202.1 The warrant and supporting documents included in

   the extradition request lay out the following facts:

          Duarte served as the Governor of the State of Chihuahua, Mexico from October 2010 to

   October 2016. Req. at 49, 119. The law obligated Duarte, as Governor, to administer state funds

   efficiently and impartially. Req. at 49-51. However, after he left office, Mexican authorities

   discovered that Duarte, with the assistance of officials in his administration and others, had

   misappropriated state funds for the benefit of himself and his associates. Req. at 51, 118-20, 191.

          In particular, Mexican authorities uncovered significant irregularities in state subsidy and

   loan programs purportedly intended to support the state’s cattle producers and in an alleged real

   estate purchase for the state. Req. at 52-55, 119. From at least June 2011 to November 2014, the

   State of Chihuahua transferred over $96,000,000 Mexican pesos to two companies, Union

   Ganadera Regional General Division del Norte del Estado de Chihuahua (“Union Ganadera”) and

   Financiera de la Division del Norte (“Financiera”).2 Req. at 52 (chart of improper payments), 118-

   19. Duarte was the majority shareholder of Financiera, a shareholder of Union Ganadera, and, at

   points, the chairman of the board of directors of both companies. Req. at 49, 120. Numerous

   witnesses, including high-level former officials from Duarte’s administration, admitted that the

   payments were fraudulent, illegal, and made under false pretenses; that the process allocating those




   1
    Mexico’s extradition request is referred to herein as “Req.” with citations to the Bates-labeled
   page numbers appearing at the bottom right of each page. A copy of the English-translated request
   appears as Exhibits 4 to 7 to Docket Entry No. 1.
   2
    The remainder of the monetary amounts described in this memorandum are in Mexican pesos
   unless otherwise noted.


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   payments was irregular; and that the money was not used for any public purpose. Req. at 62-66,

   120-28.

          Duarte perpetrated this scheme with several associates within and outside of his

   government, including Carlos Gerardo Hermosillo Arteaga (“Hermosillo”). Req. at 1017-18.

   Hermosillo and other top-level public officials in the Duarte administration, including the

   Secretary of the Treasury, the General Director of Public Investment Programs, the Secretary of

   Rural Development, the Director of Agricultural Development, and the Secretary of Rural

   Planning, authorized the unlawful payments to Duarte’s businesses. Req. at 50, 56-57, 61-62.

          These officials approved the payment of funds without following procedures required by

   Mexican law, without complete or proper documentation, without sufficient budgetary

   justification, and without requisite follow-up to ensure that the funds were used for the stipulated

   purpose. Req. at 120-28, 1020-21. In some cases, funds were improperly withdrawn from the

   cuenta deudora, the state’s emergency fund. E.g., Req. at 39, 82, 90, 97, 177, 1044. The cuenta

   deudora was intended to be used only in the event of serious state emergencies that required

   immediate expenditures without supporting documentation, such as climate events or natural

   disasters. Req. at 39, 1044. According to Mexican authorities, money transferred from the state

   treasury to Union Ganadera and Financiera was not used as earmarked. E.g., Req. at 69, 72, 76,

   80, 92, 98, 101, 1044. Instead, according to a forensic finance expert, that money ended up in

   bank or trust accounts, property, and companies that primarily benefited Duarte, his family

   members, and his associates. Req. at 191, 1046.

          The extradition request summarizes eleven improper transactions. See Req. at 67-111,

   129-88. To give one example, the State of Chihuahua, acting through officials in Duarte’s


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   administration, entered into an agreement with Union Ganadera, which purportedly paid cattle

   ranchers to transport unproductive livestock for slaughter. Req. at 81, 153. Those officials later

   admitted that they understood that this agreement was not legal and irregular. E.g., Req. at 82

   (testimony of protected witness, the former General Director of Investment Programs, that “this

   process for economic support was not legal”), 152-54. Pursuant to that agreement, the State of

   Chihuahua paid Union Ganadera $36 million between January and March 2012 using funds drawn

   from the cuenta deudora, the state’s emergency fund. Req. at 84, 158. Of the listed beneficiaries,

   forty-five were dead, and another six stated that they never signed the documents that bore their

   signatures or received any funds under the program. Req. at 83. Forensic analysis traced those

   funds through Union Ganadera and uncovered $7.2 million that went to purchase ranch properties

   for Duarte, approximately $3.4 million for the private purchase of Angus bulls for Duarte,

   $250,000 to a construction company owned by Duarte’s wife, and $6 million that ended up in a

   trust account established by Duarte and his wife. Req. at 84-89, 159.

          The other transactions followed similar patterns and consisted of:

                 A $582,965.80 payment to Union Ganadera, the bulk of which went to Duarte’s

                  wife’s construction company and from there toward a payment on her American

                  Express card, Req. at 67-70, 129-33;

                 Two $12 million payments to Financiera, $10 million of which went to the Duarte

                  trust fund, Req. at 70-77, 133-46;

                 A $5 million “loan” to Union Ganadera, $3 million of which went to another Duarte

                  family company for the purchase of a ranch, and which Duarte never repaid, Req.

                  at 77-81, 146-52;


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                 An approximately $2.7 million payment to Union Ganadera for purchasing 116

                  pieces of livestock equipment, with no documentation attesting to such purchases

                  being made, Req. at 90-93, 160-63;

                 A $10 million payment to Union Ganadera to subsidize cattle feed, which a former

                  government official described as a “false pretense,” Req. at 94; see also Req. at 93-

                  96, 163-68;

                 An $8 million transfer to Financiera, one of many transactions involving the state’s

                  emergency fund, which for the most part ended up in the Duarte family trust, Req.

                  at 96-99 , 168-71;

                 Two payments to Union Ganadera totaling $310,000, some of which paid off

                  another American Express bill, Req. at 99-102, 172-76;

                 $4.6 million in funds provided to Union Ganadera, purportedly for the state’s Meat-

                  Producing Cattle Repopulation Program, Req. at 102-05, 176-82; and

                 A $5.5 million transfer to Union Ganadera, supposedly to buy oatmeal, beans, and

                  corn for livestock producers, the majority of which was expended paying Duarte’s

                  taxes for the year 2014, Req. at 106-11, 182-188.

          After being defeated in the June 2016 gubernatorial election, Duarte told the Secretary of

   the Treasury that he was concerned about the irregular use of public funds during his

   administration, and said that he wanted to make the relevant transactions appear legal so that the

   incoming administration would not uncover his actions. Req. at 66, 122. Duarte met with the

   Secretary of the Treasury and other public officials and instructed them to take all actions

   necessary to conceal irregularities in the release of public funds during his administration. Req. at

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   66, 122. Subsequently, the Secretary of the Treasury held weekly meetings to coordinate the

   retroactive justification for any use of public funds lacking proper or complete documentation.

   Req. at 66, 122.

          The Government of Mexico has requested that the United States extradite Duarte pursuant

   to its extradition treaty with the United States, the Extradition Treaty Between the United States

   of America and the United Mexican States, U.S.-Mex., May 4, 1978, 31 U.S.T. 5059, as amended

   by the Protocol to the Extradition Treaty Between the United States of America and the United

   Mexican States of May 4, 1978, U.S.–Mex., Nov. 13, 1997, S. Treaty Doc. No. 105–46 (1998)

   (collectively referenced hereafter as the “Treaty”). The United States, in accordance with its

   obligations under the Treaty and pursuant to 18 U.S.C. §§ 3181 et seq., filed a complaint in this

   District on July 10, 2020. Duarte is currently in the custody of the U.S. Marshals Service.

                                             ARGUMENT

   I.     LEGAL FRAMEWORK OF EXTRADITION PROCEEDINGS

          A.      The limited role of the Court in extradition proceedings

          The extradition process is sui generis. Extradition is primarily an executive function with

   a specially defined role for the Court, which is authorized by statute to hold a hearing at which it

   determines whether to certify to the Secretary of State that the evidence provided by the requesting

   country is “sufficient to sustain the charge.” 18 U.S.C. § 3184; see also, e.g., Kastnerova v. United

   States, 365 F.3d 980, 984 n.5, 986 (11th Cir. 2004). The Secretary of State, and not the Court,

   then decides whether the fugitive should be surrendered to the requesting country. 18 U.S.C. §§

   3184, 3186; see also, e.g., Martin v. Warden, Atlanta Penitentiary, 993 F.2d 824, 828-29 (11th

   Cir. 1993). “This bifurcated procedure reflects the fact that extradition proceedings contain legal


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   issues peculiarly suited for judicial resolution, such as questions of the standard of proof,

   competence of evidence, and treaty construction, yet simultaneously implicate questions of foreign

   policy, which are better answered by the executive branch.” United States v. Kin-Hong, 110 F.3d

   103, 110 (1st Cir. 1997).

          At the extradition hearing, the Court’s role is limited to considering the requesting

   country’s evidence and determining whether the legal requirements for certification of

   extraditability—as defined in the applicable extradition treaty, statutes, and case law—have been

   established. See Charlton v. Kelly, 229 U.S. 447, 461 (1913) (analogizing extradition hearing to a

   preliminary hearing in a criminal case); Martin, 993 F.2d at 828-29. If the Court finds that the

   requirements for certification have been met, it must provide the certification to the Secretary of

   State, together with a copy of any testimony taken before the Court, and must commit the fugitive

   to the custody of the U.S. Marshal to await the Secretary’s final determination regarding surrender.

   18 U.S.C. § 3184 (following certification, the extradition judge “shall issue his warrant for the

   commitment of the person so charged to the proper jail, there to remain until such surrender shall

   be made”); Martin, 993 F.2d at 828.

          B.      The requirements for certification

          The Court should certify to the Secretary of State that a fugitive is extraditable when the

   following requirements have been met: (1) the judicial officer is authorized to conduct the

   extradition proceeding; (2) the Court has jurisdiction over the fugitive; (3) the applicable

   extradition treaty is in full force and effect; (4) the crimes for which surrender is requested are

   covered by the treaty; and (5) there is sufficient evidence to support a finding of probable cause as

   to each charge. See, e.g., In re Extradition of Martinelli Berrocal, No. 17-cv-22197, 2017 WL


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   3776953, at *10 (S.D. Fla. Aug. 31, 2017); In re Extradition of Shaw, No. 14-cv-81475, 2015 WL

   3442022, at *5 (S.D. Fla. May 28, 2015). The following sections briefly discuss each of those

   requirements.

                   1.      Authority over the proceedings

          The extradition statute authorizes proceedings to be conducted by “any justice or judge of

   the United States, or any magistrate judge authorized so to do by a court of the United States, or

   any judge of a court of record of general jurisdiction of any State.” 18 U.S.C. § 3184. As such,

   the judicial officer conducting the extradition hearing prescribed by Section 3184 does not exercise

   “any part of the judicial power of the United States,” but rather acts in a “non-institutional capacity

   by virtue of a special authority.” In re Extradition of Howard, 996 F.2d 1320, 1325 (1st Cir. 1993)

   (internal quotation marks and citations omitted). Both magistrate judges and district judges may

   render a certification under Section 3184. See Austin v. Healey, 5 F.3d 598, 601-02 (2d Cir. 1993).

   This District’s local rules also expressly authorize magistrate judges to “[c]onduct extradition

   proceedings, in accordance with 18 U.S.C. § 3184.” See Rule 1(a)(3), Magistrate Judge Rules for

   the U.S. District Court for the Southern District of Florida.

                   2.      Jurisdiction over the fugitive

          The Court has jurisdiction over a fugitive, such as Duarte, who is found within its

   jurisdictional boundaries. 18 U.S.C. § 3184 (“[A judge] may, upon complaint made under oath,

   charging any person found within his jurisdiction . . . issue his warrant for the apprehension of the

   person so charged.”).




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                  3.      Treaty in full force and effect

          Section 3184 provides for extradition in specifically defined situations, including whenever

   a treaty or convention for extradition is in force between the United States and the requesting state.

   See id. The government will satisfy this requirement at the extradition hearing by offering into

   evidence a declaration from an attorney in the Office of the Legal Adviser for the U.S. Department

   of State, attesting that there is a treaty in full force and effect between the United States and

   Mexico. The Court must defer to the Department of State’s determination in that regard. See, e.g.,

   Arias v. Warden, 928 F.3d 1281, 1288 (11th Cir. 2019) (“courts must defer to the determination of

   the executive branch in deciding whether an extradition treaty remains in force”) (emphasis in

   original, internal quotation marks and citation omitted); In re Extradition of Martinelli Berrocal,

   2017 WL 3776953, at *11 (noting that “every Circuit Court, including our own, has deferred to

   the executive branch” on this question) (citing Kastnerova, 365 F.3d at 986).

                  4.      Crimes covered by the treaty

          Extradition treaties create an obligation for the United States to surrender fugitives under

   the circumstances defined in the treaty. Article I of the applicable treaty in this case provides for

   the return of fugitives charged with, or convicted of, an “extraditable offense” as that term is

   defined within the treaty itself. Article II of the Treaty defines offenses as extraditable if they are

   “willful acts” that are either (1) listed in the Treaty’s Appendix and punishable under the laws of

   both the United States and Mexico by a deprivation of liberty for a maximum term of not less than

   one year, or (2) though not listed on the Appendix, punishable under the federal laws of both the

   United States and Mexico by a deprivation of liberty for a maximum term of not less than one




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   year. Item 9 of the Appendix lists “embezzlement,” and Article 2(4)(a) of the Treaty specifically

   provides for the extraditability of “conspiracy to commit an offense.”

          In assessing whether the crimes for which extradition is requested meet the dual criminality

   requirement set forth in Article II, the Court should examine the description of criminal conduct

   provided by Government of Mexico in support of its charges and decide whether that conduct, if

   it had been committed here, would be criminal under U.S. federal law, the law of the state in which

   the hearing is held, or the law of a preponderance of the states. See Arias, 928 F.3d at 1292-93

   (noting that “courts ask whether the conduct that the government describes would violate our laws

   if it occurred in this country”); Gallo-Chamorro v. United States, 233 F.3d 1298, 1306 (11th Cir.

   2000); United States v. Cardoso, No. 04-mc-128, 2005 WL 1228826, at *3 (M.D. Fla. May 10,

   2005) (“Acts are considered criminal in the United States if they would be unlawful under federal

   statutes, the law of the state where the accused is found, or by a preponderance of the states.”)

   (citing Wright v. Henkel, 190 U.S. 40, 61 (1903)). A requesting country need not establish that its

   crimes are identical to ours. Indeed, “[t]he law does not require that the name by which the crime

   is described in the two countries shall be the same; nor that the scope of the liability shall be

   coextensive, or, in other respects, the same in the two countries. It is enough if the particular act

   charged is criminal in both jurisdictions.” Collins v. Loisel, 259 U.S. 309, 312 (1922).

          In fulfilling its function under Section 3184, the Court should liberally construe the

   applicable extradition treaty in order to effectuate its purpose, namely, the surrender of fugitives

   to the requesting country. Factor v. Laubenheimer, 290 U.S. 276, 299-300 (1933); see also, e.g.,

   Martinez v. United States, 828 F.3d 451, 463 (6th Cir. 2016) (en banc) (“default rule” is that any

   ambiguity in extradition treaty must be construed in favor of “facilitat[ing] extradition”).


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   Accordingly, because extradition treaties should be “interpreted with a view to fulfil our just

   obligations to other powers,” Grin v. Shine, 187 U.S. 181, 184 (1902), the Court should “approach

   challenges to extradition with a view towards finding the offenses within the treaty,” McElvy v.

   Civiletti, 523 F. Supp. 42, 48 (S.D. Fla. 1981).

                  5.      Probable cause that the fugitive has committed the offenses

          To certify the evidence to the Secretary of State, the Court must conclude there is probable

   cause to believe that the crimes charged by the Government of Mexico were committed by the

   person before the Court. Avila-Ramos v. Kammerzell, 893 F.3d 1243, 1247 (10th Cir. 2018);

   Castro Bobadilla v. Reno, 826 F. Supp. 1428, 1432 (S.D. Fla. 1993). The evidence is sufficient,

   and probable cause is established, if it would cause a “prudent man” to “believ[e] that the (suspect)

   had committed or was committing an offense.” Gerstein v. Pugh, 420 U.S. 103, 111 (1975)

   (internal quotation marks and citation omitted).        The extradition judge’s probable cause

   determination is “not a finding of fact in the sense that the court has weighed the evidence and

   resolved disputed factual issues,” but instead “serve[s] only the narrow function of indicating those

   items of submitted evidence on which the decision to certify extradition is based.” Quinn, 783

   F.2d at 791 (internal quotation marks omitted); Martinelli, 2017 WL 3776953, at *21 (same).

          C.      An extradition hearing follows unique procedures

          As detailed above, the purpose of an extradition hearing is to decide the sufficiency of the

   charges for which extradition is requested under the applicable extradition treaty; it is not to

   determine the guilt or innocence of the fugitive—that determination is reserved for the foreign

   court. Collins, 259 U.S. at 316; see also, e.g., Arias, 928 F.3d at 1286 (“A United States court

   dealing with an extradition request for an accused is obliged to resist any temptation to judge the


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   guilt or innocence of the accused.”) (internal quotation marks and citation omitted). An extradition

   hearing is not a criminal proceeding. See, e.g., Martin, 993 F.2d at 828. Rather, it is “an

   administrative proceeding arising under international law for certification and approval of the State

   Department’s decision to extradite this person at the request of a foreign government,” In re

   Extradition of Martinelli Berrocal, 263 F. Supp. 3d 1280, 1284 (S.D. Fla. 2017); and it is governed

   by “the general extradition law of the United States and the provisions of the Treaty,” Emami v.

   U.S. Dist. Ct., 834 F.2d 1444, 1450-51 (9th Cir. 1987).

          Accordingly, the Federal Rules of Criminal Procedure do not apply to extradition

   proceedings. See Fed. R. Crim. P. 1(a)(5)(A) (“Proceedings not governed by these rules include

   . . . the extradition and rendition of a fugitive.”). Moreover, many constitutional protections

   applicable in criminal cases do not apply to extradition hearings; for example, the exclusionary

   rule is not applicable, see, e.g., Simmons v. Braun, 627 F.2d 635, 636-37 (2d Cir. 1980); and a

   fugitive does not have the right to confront his accusers, see, e.g., Bingham v. Bradley, 241 U.S.

   511, 517 (1916).

          Nor do the Federal Rules of Evidence apply to extradition proceedings. See, e.g., Afanasjev

   v. Hurlburt, 418 F.3d 1159, 1164-65 (11th Cir. 2005); see also Fed. R. Evid. 1101(d)(3) (“These

   rules—except for those on privilege—do not apply to . . . miscellaneous proceedings such as

   extradition or rendition.”). Hearsay evidence is admissible at an extradition hearing and “[a]

   certification of extradition may be and usually is based entirely on the authenticated documentary

   evidence and information provided by the requesting government.” Shaw, 2015 WL 3442022, at

   *4; see also, e.g., Afanasjev, 418 F.3d at 1165 (unsworn statements may be sufficient to justify

   extradition) (citing Collins, 259 U.S. at 317). Nothing more is required, and typically nothing


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   more is provided. See, e.g., In re Extradition of Nunez-Garrido, 829 F. Supp. 2d 1277, 1287 (S.D.

   Fla. 2011) (“It is exceedingly rare for the Government to submit anything other than documents in

   support of an extradition request.”); Bovio v. United States, 989 F.2d 255, 259 (7th Cir. 1993)

   (police detective’s statement summarizing results of investigation established probable cause);

   Zanazanian v. United States, 729 F.2d 624, 627-28 (9th Cir. 1984) (police report describing

   witness statements is competent evidence). Extradition treaties do not require, or even anticipate,

   the testimony of live witnesses at the hearing. Indeed, requiring the “demanding government to

   send its citizens to another country to institute legal proceedings, would defeat the whole object of

   the treaty.” Bingham, 241 U.S. at 517.

          Relatedly, a fugitive has no right to discovery, see, e.g., Prasoprat v. Benov, 421 F.3d 1009,

   1014 (9th Cir. 2005), and his right to challenge the evidence against him at an extradition hearing

   is severely constrained, see, e.g., In re Extradition of Nunez-Garrido, 829 F. Supp. 2d at 1281. A

   fugitive may not introduce evidence that contradicts the evidence submitted on behalf of the

   requesting country, but rather may only introduce evidence explaining the submitted evidence.

   See, e.g., Charlton v. Kelly, 229 U.S. 447, 461-62 (1913). A contrary rule “might compel the

   demanding government to produce all its evidence . . . both direct and rebutting, in order to meet

   the defense thus gathered from every quarter.” Collins, 259 U.S. at 316 (quoting In re Extradition

   of Wadge, 15 F. 864, 866 (S.D.N.Y. 1883)); Shaw, 2015 WL 3442022, at *8.

          Courts routinely reject technical and affirmative defenses in extradition proceedings. See,

   e.g., Bingham, 241 U.S. at 517 (rejecting objections to extradition that “savor of technicality”);

   Hooker v. Klein, 573 F.2d 1360, 1368 (9th Cir. 1978) (noting that extradition court “properly may

   exclude evidence of alibi, or facts contradicting the government’s proof, or of a defense such as


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   insanity”); Martinelli Berrocal, 2017 WL 3776953, at *27 (collecting cases). These issues, which

   require factual or credibility determinations, are reserved for the courts in the requesting country

   to resolve after the fugitive is extradited.

           D.       Rule of non-inquiry

           All matters raised by the fugitive as a defense to extradition, other than those related to the

   requirements for certification, are to be considered by the Secretary of State, not by the court. For

   example, the Secretary of State should address a fugitive’s contentions that an extradition request

   is politically motivated, that the requesting state’s justice system is unfair, or that extradition

   should be denied on humanitarian grounds. Martin, 993 F.2d at 830 n.10 (“We [have] explicitly

   held that judicial intervention in extradition proceedings based on humanitarian considerations is

   inappropriate.    Rather, humanitarian considerations are matters properly reviewed by the

   Department of State.” (citation omitted)).        This practice is consistent with the long-held

   understanding that the surrender of a fugitive to a foreign government is “purely a national act . . .

   performed through the Secretary of State.” In re Kaine, 55 U.S. 103, 110 (1852).

   II.     THE FUGITIVE SHOULD BE DETAINED

           Just as extradition hearings follow unique procedures, the determination of whether to

   release a fugitive on bail is also sui generis. The federal statutes governing extradition in the

   United States, 18 U.S.C. §§ 3181 et seq., do not provide for bail. Further, the Bail Reform Act,

   18 U.S.C. §§ 3141 et seq., does not apply because, as explained above, an extradition proceeding

   is not a criminal case.3 See, e.g., In re Extradition of Shaw, No. 14–mc–81475, 2015 WL 521183,



   3
    The Bail Reform Act applies only to “offenses” in violation of U.S. law that are triable in U.S.
   courts. See 18 U.S.C. §§ 3141(a), 3142, 3156(a)(2). Here, Duarte is not charged with an “offense”

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   at *4-5 (S.D. Fla. Feb. 6, 2015). Rather, case law provides that bail should be granted in an

   extradition proceeding “only in the most pressing circumstances, and when the requirements of

   justice are absolutely peremptory.” United States v. Leitner, 784 F.2d 159, 160 (2d Cir. 1986)

   (quoting In re Mitchell, 171 F. 289, 289 (S.D.N.Y. 1909) (Hand, J.)).

          A.      Applicable law

                  1.      A strong presumption against bail governs in an international extradition
                          proceeding

          Unlike in domestic criminal cases, “there is a presumption against bond.” Martin, 993 F.2d

   at 827; see also Martinelli Berrocal, 263 F. Supp. 3d at 1294 (“[A]ny release of a detainee awaiting

   extradition is largely antithetical to the entire process.”). The Supreme Court established this

   presumption against bail in Wright v. Henkel, explaining that when a foreign government makes a

   proper request pursuant to a valid extradition treaty, the United States is obligated to deliver the

   person sought after he or she is apprehended:

          The demanding government, when it has done all that the treaty and the law require
          it to do, is entitled to the delivery of the accused on the issue of the proper warrant,
          and the other government is under obligation to make the surrender; an obligation
          which it might be impossible to fulfill if release on bail were permitted. The
          enforcement of the bond, if forfeited, would hardly meet the international demand;
          and the regaining of the custody of the accused obviously would be surrounded
          with serious embarrassment.

    190 U.S. at 62.

          The prudential reasons for this presumption against bail in international extradition cases

   are clear and compelling. When, as here, a requesting country meets the conditions of the Treaty,



   within the meaning of 18 U.S.C. § 3156, but rather with offenses committed in violation of the law
   of the requesting state, Mexico.


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   the United States has an “overriding interest in complying with its treaty obligations” to deliver

   the fugitive. In re Extradition of Garcia, 615 F. Supp. 2d 162, 166 (S.D.N.Y. 2009); see also

   Wright, 190 U.S. at 62. It is important that the United States be regarded in the international

   community as a country that honors its agreements in order to be in a position to demand that other

   nations meet their reciprocal obligations to the United States. Such reciprocity would be defeated

   if a fugitive flees after being released on bond. See Martinelli Berrocal, 263 F. Supp. 3d at 1306

   (“[O]ur Executive Branch has a vested interest in enforcing our own treaty obligations for fear that

   other treaty partners will refrain from doing so in the future. And a difficult but necessary measure

   in carrying out that responsibility is to secure a wanted individual and surrender him or her to the

   foreign jurisdiction.”).

                   2.         Fugitives must be detained unless they establish “special circumstances”
                              and also demonstrate that they are neither a flight risk nor a danger to the
                              community

           In light of the strong presumption against bail established in Wright, fugitives may not be

   released on bail unless they demonstrate that (1) they are neither a flight risk nor a danger to the

   community, and (2) “special circumstances” warrant their release. See, e.g., In re Extradition of

   Kirby, 106 F.3d 855, 862-63 (9th Cir. 1996); Shaw, 2015 WL 521183, at *5; Martinelli Berrocal,

   263 F. Supp. 3d at 1292 (for over a hundred years, the “special circumstances” test has been applied

   by circuit and district courts for bail determinations in extradition cases).4           “This ‘special



   4
     “[T]here is disagreement among the federal district courts regarding the burden of persuasion
   that a potential extraditee must satisfy . . . . [Some] courts require the person subject to
   international extradition to overcome the presumption against bail by presenting clear and
   convincing evidence that bail is warranted. . . . [and t]here is a negligible minority of courts that
   have adopted a preponderance of the evidence standard.” In re Extradition of Garcia, 761 F. Supp.
   2d 468, 474-75 (S.D. Tex. 2010).

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   circumstances’ standard is much stricter than the ‘reasonable assurance’ of appearance standard

   made applicable to domestic criminal proceedings by the Bail Reform Act.” In the Matter of the

   Extradition of Kin-Hong, 913 F. Supp. 50, 53 (D. Mass. 1996).

          In evaluating a fugitive’s risk of flight in the extradition context, courts have considered,

   among other things, the fugitive’s financial means, ties with foreign countries, and incentive to

   flee based on the severity of the offense. See, e.g., Martinelli Berrocal, 263 F. Supp. 3d at 1304;

   In re Extradition of Beresford-Redman, 753 F. Supp. 2d 1078, 1091 (C.D. Cal. 2010) (finding that

   a “well-educated and sophisticated” fugitive facing serious charges in foreign country had both the

   “incentive and ability to flee” and therefore presented a flight risk). Crucially, the special

   circumstances inquiry is separate from, and additional to, considerations of the fugitive’s flight

   risk and danger to the community. See, e.g., Martin, 993 F.2d at 828 (“[The fugitive] complains

   only that the district court erred in determining that he was a flight risk. Absent proof of special

   circumstances, however, Martin is not entitled to bail.”); Salerno v. United States, 878 F.2d 317,

   317-18 (9th Cir. 1989) (low flight risk alone “is not the criteria for release in an extradition case”);

   Leitner, 784 F.2d at 161 (“[e]ven a low risk of flight” is not a circumstance sufficiently “unique”

   to “be dispositive”). Accordingly, a fugitive who fails to establish special circumstances should

   be detained even if he is deemed not to be a flight risk or danger to the community.

          “[C]ourts consistently agree that special circumstances are supposed to be limited to the

   most extraordinary circumstances and cannot involve factors applicable to all potential

   extraditees.” Shaw, 2015 WL 521183, at *5 (citation and quotation marks omitted). Courts have

   considered and rejected a lengthy list of would-be special circumstances, including:

                 The complexity of the pending litigation, see, e.g., United States v. Kin-Hong, 83
                  F.3d 523, 525 (1st Cir. 1996);

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                 The fugitive’s need to consult with counsel, see, e.g., In re Extradition of Smyth,
                  976 F.2d 1535, 1535-36 (9th Cir. 1992);

                 The fugitive’s character, background, or ties to the community, see, e.g., Martinelli
                  Berrocal, 263 F. Supp. 3d at 1305; In re Extradition of Noeller, No. 17 CR 664,
                  2017 WL 6462358, at *5 (N.D. Ill. Dec. 19, 2017); Beresford-Redman, 753 F.
                  Supp. 2d at 1089; In re Extradition of Sidali, 868 F. Supp. 656, 658 (D.N.J. 1994);

                 The fugitive’s advanced age, see, e.g., Martinelli Berrocal, 263 F. Supp. 3d at 1301-
                  02, 1305 (66-year-old defendant); In re Extradition of Pelletier, No. 09-mc-22416,
                  2009 WL 3837660, at *2-4 (S.D. Fla. Nov. 16, 2009) (detaining 71-year-old
                  fugitive despite his claims of “advanced age” and poor health);

                 The fact that the fugitive may have been living openly, see, e.g., Leitner, 784 F.2d
                  at 160-61;

                 Discomfort, special dietary needs, or medical concerns that can be attended to while
                  incarcerated, see, e.g., Martinelli Berrocal, 263 F. Supp. 3d at 1301-02; Noeller,
                  2017 WL 6462358, at *8-9; In re the Extradition of Kyung Joon Kim, 04-cv-3886,
                  2004 WL 5782517, at *5 (C.D. Cal. July 1, 2004);

                 U.S. citizenship or the pendency of naturalization or other immigration
                  proceedings, see, e.g., Shaw, 2015 WL 521183, at *8;

                 The fugitive’s professional status, see, e.g., Pelletier, 2009 WL 3837660, at *3-4
                  (businessman); In re Extradition of Heilbronn, 773 F. Supp. 1576, 1581-82 (W.D.
                  Mich. 1991) (highly-trained doctor);

                 The availability of electronic monitoring, see, e.g., In re Extradition of Rovelli, 977
                  F. Supp. 566, 569 (D. Conn. 1997);

                 Ordinary delay or delay occasioned by the fugitive in the course of extradition
                  proceedings, see, e.g., Martinelli Berrocal, 263 F. Supp. 3d at 1297-98; In re
                  Extradition of Antonowicz, 244 F. Supp. 3d 1066, 1070 (C.D. Cal. 2017); and

                 The availability of bail for the same offense in the requesting country, see, e.g.,
                  Martinelli Berrocal, 263 F. Supp. 3d at 1298-99; Antonowicz, 244 F. Supp. 3d at
                  1070-71.

          While in certain exceptional cases some of the above may have been deemed a special

   circumstance, courts generally determine special circumstances to exist based on a confluence of

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   factors, as opposed to any single consideration. Such findings are highly case-specific and within

   the discretion of the Court, mindful of the strong presumption against bail and future reciprocity

   of other countries at stake.

          B.      Analysis

          The Court should detain Duarte without bond. Duarte is a significant flight risk and a

   potential danger to the witnesses against him and to the community for several reasons.

          First, he has a strong incentive to flee. The two charges at issue in this extradition,

   aggravated embezzlement and aggravated conspiracy, carry penalties of up to twelve years’

   imprisonment and nine years’ imprisonment, respectively. Req. at 213-15. The substantial amount

   of time he faces if convicted increases his risk of flight. See, e.g., Martinelli Berrocal, 263 F.

   Supp. 3d at 1305; Shaw, No. 2015 WL 521183, at *9 (noting that “the [fugitive] is facing serious

   criminal sanctions in Thailand, which fact provides him with a strong incentive to flee”); cf., e.g.,

   United States v. Londono-Villa, 898 F.2d 328, 329 (2d Cir. 1990) (flight risk based in part on

   potential sentence of approximately twenty-four to thirty years of imprisonment); United States v.

   Castiello, 878 F.2d 554, 556 (1st Cir. 1989) (flight risk based in part on potential sentence of

   approximately eight to ten years of imprisonment); United States v. Rankin, 289 F. Supp. 3d 846,

   849 (S.D. Ohio 2017) (“The length of a potential sentence bears on a defendant’s risk of flight.”).

          Second, Duarte has the financial means to flee. As described above, he is alleged to have

   embezzled nearly $100 million Mexico pesos. While not all of that money went directly into his

   own pocket, it was used for his benefit or the benefit of those associated with him. Moreover, at

   least $30 million Mexican pesos (over US $1.2 million) of the money was deposited into a personal

   trust for him and his wife. Req. at 73, 99. Duarte has also owned multiple properties in Mexico,


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   including at least a home and three ranches, Req. at 85, 87, and has been a shareholder in a number

   of companies, including Union Ganadera, Financiera, Grupo Inmobilario del Norte, S.A. de C.V.,

   and Ganadera El Saucito Balleza, S.P.R. de R.L. de C.V. Such wealth increases his risk of flight.

   See Martinelli Berrocal, 263 F. Supp. 3d at 1304 (explaining that President Martinelli’s “extreme[]

   wealth[]” outweighed his offer of an “extraordinary bond package” because he “could easily use

   his accumulated wealth to sustain himself and his family . . . after fleeing to another country,” and

   that noting that “courts presented with similar evidence have continuously held that defendants

   with financial means to flee pose a serious risk of flight”).

          In addition, the request concerns only one of numerous pending criminal prosecutions

   against Duarte alleging embezzlement. Req. at 200-21. Thus, the $96 million described in this

   extradition request (worth approximately $6.5 million U.S. dollars in 2014) represents only a

   portion of the public money that Duarte allegedly stole during his tenure as governor. Even if he

   retained the ability to access only a small fraction of those funds, such wealth would facilitate an

   easy escape to a third country.

          Third, Duarte has a history of allegedly engaging in criminal misconduct and failing to

   abide by court orders. Not only did the embezzlement scheme of which he is accused in this case

   last for over three years and involve numerous transactions, but he is also subject to other pending

   criminal cases in Mexico. Moreover, Duarte was summoned to appear in court in Mexico on

   December 12 and 14, 2016, but refused to comply with the summons and instead sent a statement

   to the court claiming that he was receiving medical attention in the United States and indicating

   that he would not appear. Req. at 201. He also refused to comply with another summons to appear

   on June 23, 2017. Req. at 201. Thus, despite being well-aware of the charges pending against


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   him in Mexico, he has deliberately chosen to stay in the United States rather than return to Mexico

   to face the charges. This track record is indicative of Duarte’s risk of flight in the United States

   and suggests that he is not likely to abide by any conditions this Court might impose were it to

   release him. Cf., e.g., United States v. Nicolo, 706 F. Supp. 2d 330, 334 (W.D.N.Y. 2010) (denying

   U.S. defendant’s motion for release pending appeal in part because his tax-fraud scheme had last

   over at least a seven-year period); United States v. Botero, 604 F. Supp. 1028, 1035 (S.D. Fla.

   1985) (“In the context of determining whether a defendant poses a substantial risk of flight, this

   Court does not find any meaningful distinction between a person who left the country when he

   learned of pending charges and one who already outside the country refuses to return to face these

   charges. The intent is the same—the avoidance of prosecution.”) (citing Jhirad v. Ferrandina, 536

   F.2d 478, 483 (2d Cir. 1976)); Beresford-Redman, 753 F. Supp. 2d at 1091 (fugitive found to be a

   flight risk because, among other things, he could have “return[ed] to Mexico and voluntarily

   surrender[ed], [but] he has not done so.”).

          Given his prior history of relocating from Mexico and failing to appear for his criminal

   proceedings there, further flight from the United States to yet another country or to an underground

   location in the United States is a reasonable assumption. Allowance of bail in any amount would

   not guarantee Duarte’s presence in court and would invite the possibility of embarrassing the

   United States in the conduct of its foreign affairs. The United States’ ability to extradite fugitives

   from other countries could be severely compromised were the United States to release Duarte on

   bond and then have him flee the jurisdiction.

          Fourth, separate and apart from his risk of flight, two potential witnesses in Duarte’s

   pending prosecutions have provided declarations to Mexican authorities describing Duarte’s


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   efforts to tamper with their testimony and to threaten or intimidate them into supporting his

   defense. See Declaration of Protected Witness 56RT65PW7_T (attached hereto as Exhibit 1);

   Declaration of J.M.L.H. (attached hereto as Exhibit 2).

          According to Witness 56RT65PW7_T, he is “afraid . . . because [he has] been the victim

   of threats against [his] person, issued by the former governor himself, Cesar Horacio Duarte

   Jaquez, and also by people who have attempted to harm [him], operating under the extensive

   networks of influence that this man has developed” (Exh. 1, at 3 (English translation of Spanish

   language declaration)).5 The declarant’s fear stems in part from Duarte’s “political contacts and

   the corruption networks he developed, as well as his extensive financial capacity in large part

   because of the funds he obtained illegally” (Exh. 1, at 6). According to the witness, who began

   cooperating with state authorities in Mexico, a nephew and close associate of Duarte, Gerardo

   Villegas, “openly threatened me through a Blackberry text message . . . with alleged criminal acts

   that he would make known about me” (Exh. 1, at 4). Following that blackmail threat, the witness

   received a call from Duarte that “summon[ed]” him to a meeting on March 26, 2017, in El Paso,

   Texas (id.). Duarte and the witness met in a restaurant parking lot in El Paso (id.).

          From the start of the conversation, Duarte’s “gestures and attitude” conveyed “anger[,] and

   he had an aggressive tone” (id.). Duarte told the declarant that Duarte’s sources had seen him

   meeting with an attorney and that “he knew that [the declarant] wanted to be a protected witness”

   (id.). Duarte stated that “the concept”—presumably, government protection—“did not exist” (id.).

   Furthermore, Duarte demanded to know whether the witness was “with him or against him,” and


   5
    Because the exhibit aggregates multiple documents with their own page numbers together, these
   citations refer to the internal pagination of the English translation.


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   warned, “if it was the latter, that I [the declarant] would experience the consequences” (id.). The

   declarant stated that, to protect his family, he intended to “be truthful” with the authorities (id.).

   Duarte then asked the witness to describe the matters in which the witness was involved and

   dismissed certain allegations against him as baseless; according to Duarte, he “would always deny

   this and all of the other acts” (id.). Duarte claimed that “they were never going to be able to arrest

   him and on the contrary, there would come a time when he would first put the current Governor

   Javier Corral in prison, because he had the full support of the federal authorities, and he likewise

   . . . would get those federal authorities to go after [the declarant] and put [him] in prison” (Exh. 1,

   at 5). The meeting concluded with Duarte warning the witness that he “would be better off with

   [Duarte]” (id.).

          After those events, in December 2017, a friend and former government official advised the

   witness to “be very careful because” Duarte “still had federal support” (Exh. 1, at 6). On February

   6, 2018, the witness met with an official in the Ministry of Internal Affairs, where the official told

   the witness “to change [his] testimony to disassociate Cesar Duarte and Alejandro Guttierez, and

   that in exchange they would give [him] a plea bargain” (id.). However, he refused this demand

   because “what he was asking . . . was not the truth of the matter” (id.). “All of these threats

   continued until the new federal administration came in, in December of 2018” (Exh. 1, at 7).

          Duarte’s former private secretary attested to similar intimidation or tampering efforts (Exh.

   2). According to the secretary, shortly before Duarte’s administration ended, Duarte spoke to him

   in the Governor’s Mansion and raised “the principle of loyalty,” telling the secretary “that people

   who are disloyal always end up paying for it either themselves or their family” (Exh. 2, at 2).

   Duarte conveyed this statement “in a threatening, intimidating tone, with a lot of emphasis,” which


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   made the witness “afraid for [him]self and [his] family” (id.). Notably, the secretary believed that

   Duarte “had been waiting to tell [him]” this threat “because it didn’t have anything to do with what

   [they] were talking about” at the time (id.). By the time of that conversation, it was widespread

   public knowledge that there were numerous irregularities in the handling of public funds and that

   Duarte faced criminal investigation (id.).

          Much as he did with the other witness, Duarte requested a meeting with his former secretary

   and another former employee of his wife at a restaurant in El Paso, Texas (Exh. 2, at 3). Duarte

   told the two to sit at a separate table so that he could “call[] on [them] to talk with him one by one”

   (id.). Duarte told the witness that “he had already arranged everything and that those who were

   investigating him weren’t going to be able to prove anything” (id.). As he did with the protected

   witness, Duarte urged his private secretary to “support him in the investigations” and promised to

   “protect [them]” if they did so (id.). After that meeting, the witness noticed several vehicles

   following him throughout the day, and he suspected Duarte of sending that surveillance; in

   addition, a former associate of Duarte’s wife repeatedly tried to contact him beginning in May

   2019, likely to connect him with Duarte (Exh. 2, at 4-5).

          One shared aspect of these accounts is particularly notable: Duarte met with and attempted

   to influence these witnesses’ testimony in the United States, and not only in Mexico. Both

   accounts corroborate each other closely on this point and describe how Duarte arranged for

   meetings in El Paso.      Moreover, both accounts describe Duarte making similar statements

   suggesting that loyalty would be rewarded, while testifying against him could result in adverse

   consequences to the witnesses or their families. There is no reason why Duarte could not continue

   to perpetrate this pattern of alarming conduct if he were free on bond. The witness accounts


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   establish that Duarte is capable of threatening witnesses from the United States and also retains an

   influential network in Mexico to assist him in reaching his former employees or subordinate

   officials who remain in that country. Even under the more lenient standards of the Bail Reform

   Act, the intimidation of witnesses is a factor that strongly favors detention of a defendant. See,

   e.g., United States v. Quartermaine, 913 F.2d 910, 917 (11th Cir. 1990) (reversing release order

   and determining that the defendant could not overcome the presumption of detention applicable to

   his serious drug charges because, among other things, the defendant had “threatened to harm a

   witness’s children if he testified”).

           Either Duarte’s risk of flight or the danger to the community and the witnesses with

   knowledge of his conduct as Governor would be enough, standing alone, for the Court to deny any

   forthcoming application for bail. But even if the Court were satisfied that Duarte is not a flight

   risk, the government is unaware of any “special circumstances” that would justify bail in this case.

           Should, however, the Court be inclined to grant bail in this case, the government

   respectfully requests that the Court submit special written findings as to those specific matters that

   are found to constitute “special circumstances.” Moreover, in order to protect the ability of the

   United States to meet its treaty obligations to the Government of Mexico, the government also

   requests that the Court notify the parties within a reasonable amount of time in advance of any

   contemplated release order.

   III.    CONCLUSION

           For the foregoing reasons, the United States requests that Duarte be detained pending

   resolution of this extradition proceeding.




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   Dated: July 24, 2020                      Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was uploaded onto

   the Court’s CM/ECF system and sent via CM/ECF to all counsel of record.


                                                    /s Jason Wu
                                                    Jason Wu
                                                    Assistant United States Attorney




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